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                     UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MASSACHUSETTS



KEVIN C. ROBINSON,
     Plaintiff
                                      CIVIL ACTION NO.
                                      1:16-cv-12560-NMG
v.

TOWN OF MARSHFIELD, ROCCO
LONGO, in his Official
Capacity and individually, and
JOHN E. HALL, in his official
capacity and individually,
     Defendants


               JOINT MOTION TO EXTEND SCHEDULING ORDER

     Plaintiff, Kevin C. Robinson and the defendants, Town of

Marshfield, et al. (collectively, the “parties”) hereby

respectfully request that this court extend the Scheduling Order

deadlines in this matter.

     The parties request that the deadline for the completion of

discovery be extended to April 30, 2018; the deadline for filing

any dispositive motions be extended to May 30, 2018; and the

deadline for filing any opposition to dispositive motions be

extended to June 30, 2018.     All other deadlines would remain

unchanged.

     As grounds therefore, the parties state:

     While the parties have diligently endeavored to complete all

discovery within the deadlines set by the court, two events

beyond our control have prevented us from completing all

depositions.
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     Robinson has completed the depositions of Fire Chief

Hocking, Deputy Fire Chief Cipullo, Firefighter and (Then) Union

President Cohen, Firefighter Morgan, training officer, Capt.

Boccuzzo, training officer and Regina Ryan, Esq., an investigator

for the Town.

     The depositions of Hall, Robbins and McDonough, Selectmen,

had to be postponed due to a large storm and resulting power

outage.     Those depositions are scheduled for March 30, 2018.

Robinson began the deposition of former Town Administrator Longo

today.     However, the witness had to leave early for a medical

appointment and the remainder of his deposition will have to be

rescheduled.

     The Town has completed the depositions of Shaun and Shauna

Robinson and taken one half of the plaintiff’s deposition.               The

second half is scheduled for March 27, 2018.

     In addition, the non-party witness, Mark Smith, filed a

Motion to Quash his deposition subpoena, requiring his deposition

to be postponed until after the court denied the motion on March

16, 2018.     Smith has represented to the parties that his next

available dates are April 18 or 19, 2018.          The Smith deposition

is tentatively scheduled for April 18, 2018, pending the court’s

allowance of this Motion.

     This extension will not require any change to the October 1,

2018 trial date set by the court and will not cause any

significant delays for the court.
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     WHEREFORE, the parties respectfully request that the

Scheduling Order be amended as set forth above.



DEFENDANT                              PLAINTIFF,
TOWN OF MARSHFIELD                     KEVIN C. ROBINSON
By its Attorneys                       By his Attorneys,

PIERCE DAVIS & PERRITANO
                                       /S/ Marisa A. Campagna
/S/_Jason Crotty                       ______________________________
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Dated: March 23, 2018


                        CERTIFICATE OF SERVICE

     I hereby certify that this document has been filed through
     the ECF system and will be sent electronically to the
     registered participants identified on the Notice of
     Electronic Filing and by first class mail, postage prepaid,
     on March 23, 2018, to those identified as non-registered
     participants.

                                       /s/ Marisa A. Campagna
                                       ______________________________
                                       Marisa A. Campagna
